 Case 2:12-md-02327 Document 629-1 Filed 05/30/13 Page 1 of 1 PageID #: 7321




                        IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF WEST VIRGINIA
                                CHARLESTON DIVISION

IN RE: ETHICON, INC. PELVIC REPAIR SYSTEMS
PRODUCTS LIABILITY LITIGATION

------------------------------------------------------------------      MDL No. 2327
THIS DOCUMENT RELATES TO ALL CASES


                                      CERTIFICATE OF SERVICE

         I hereby certify that on May 30, 2013, I electronically filed the foregoing document with

the Clerk of the court using CM/ECF system which will send notification of such filing to the

CM/ECF participants registered to receive service in this MDL.



                                                      /s/ D. Renee Baggett_______________
                                                      D. RENEE BAGGETT
                                                      Aylstock, Witkin, Kreis and Overholtz, PLC
                                                      17 E. Main Street, Suite 200
                                                      Pensacola, FL 32563
                                                      P: 850-202-1010
                                                      F: 850-916-7449
                                                      Rbaggett@awkolaw.com




                                                         1
